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                                                                  1100 H. STREET, NW., SUITE 400, WASHINGTON, DC 20005
                                                                     TELEPHONE {202} 652-0579 • FACSIMILE (202) 525-5261
                                                                                                     www.rosettalaw.com




                                                   May 31, 2017

          DELIVERED VIA HAND-DELIVERY AND ELECTRONIC MAIL

          Quechan Tribe of the Fort Yuma Indian Reservation
          Attn: President Keeny Escalante, Sr.
          P.O. Box 1899
          Yuma, Arizona 85366


                 Re: Proposal for Legal Services

          Dear President Escalante:

                  Rosette, LLP ("Rosette" or "Firm") is pleased to submit the attached proposal for
          outside legal services for consideration of the Quechan Tribe of the Fort Yuma Indian
          Reservation ("Tribe"). As set forth herein, Rosette is confident that it possesses all
          qualifications to serve effectively and efficiently as legal counsel to the Tribe in all facets of
          federal Indian law.

                 By way of introduction, Rosette is a leading majority Indian-owned and operated national
         law firm exclusively representing tribal governments and wholly owned tribal entities with offices
         in Arizona, California, Michigan and Washington, D.C. We specialize in federal Indian law,
         complex litigation, governmental advocacy, financial transactions and representation of internal
         tribal government matters including Tribal Councils, Gaming Commissions, Tribal Courts,
         Personnel Committees, Housing and Utility Authorities and Boards, clinics and Election Boards.
         We aid in the administration of tribal programs and agencies such as fiscal departments, education
         services, housing, and cultural preservation. We procure self-determination contracts for
         programs such as water projects, sanitation facilities construction, health services and
         transportation. In addition, we work with tribal governments on constitutional development and
         reform, drafting tribal policies, ordinances and regulations, and developing tribal adjudicatory
         systems. Our goal is to promote the economic and political resources our clients require to
         support their communities and preserve their sovereign status.
                 Since Rosette's inception, we have assembled a dynamic team of Indian attorneys
         committed to providing Indian tribes with the highest level of professionalism in the practice of
         law, with an emphasis in business transactions. Our attorneys have over 100 years' worth of
         combined experience practicing law in Indian Country for the benefit of our tribal clients. This
         tribal background guarantees our Firm's work product will be respectful of the Tribe's
         sovereignty and also ensures quality work product in each functional area of the law. As a full-



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         Quechan Tribe of the Fort Yuma Indian Reservation
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         service law firm dedicated exclusively to representing tribal governments and tribal entities in
         Indian Country, we welcome this opportunity to provide high-quality and low-cost legal services
         to the Tribe.

                 We are extremely eager for you to review the attached proposal, and we stand ready to
         assist you in your future endeavors. Thank you for the opportunity to be considered for this
         position. Should you have any questions or require further information, please do not hesitate to
         contact me at (480) 341-2324 or via email at cdeschene@rosettelaw.com

                                                      Sincerely,

                                                      ROSETTE,LLP




                                                      Chris Deschene

         cc: Mark William White, II, Tribal Council
             Executive Secretary




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         PROPOSAL FOR LEGAL
         SERVICES

                As set forth in the cover letter submitted herewith, Rosette is a leading majority Indian-owned
        and operated national law firm representing tribal governments and tribal entities with offices in
        Arizona, California, Michigan and Washington, D.C. We specialize in federal Indian law, tribal
        economic development, tribal energy development and policy, complex litigation, governmental
        negotiations, financial transactions and representation of internal tribal government matters including
        Tribal Councils, Gaming Commissions, Tribal Courts, Personnel Committees, Housing and Utility
        authorities, clinics and Election Boards.

                We understand that the Tribe currently utilizes outside counsel for a wide variety of matters -
        both at the federal and local level. Rosette believes that it possesses skills and qualifications in all
        facets of federal Indian law, from which the Tribe could benefit. As such, we are taking the liberty of
        providing Tribe with a brief overview of the many practice areas in which Rosette engages and has
        effectively assisted our clients, evidencing why our Firm should be selected to represent the Tribe's
        legal needs.

        I.     Practice Areas
                                                     Tribal Energy

                Our Firm has recently acquired the capacity, skills and experience to serve tribal leaders and
        their communities with their energy, natural resources, environmental, and business development
        needs. Chris Deschene, the former Director for the Office of Indian Energy, has over 20 years of
        leadership and management experience to lead, develop and manage complex tribal energy projects
        for tribal clients and partners. With our extensive contacts and relationships, Chris' national portfolio
        helps strengthen our current services and compliments the leadership team we have internally.
        Additionally, Chris' vision and dedication to tribal sovereignty has made him a national leader in
        helping tribal communities, tribal businesses, and tribal and non-tribal partnerships succeed. His work
        includes the following: high voltage and distributive transmission, generation both renewable and
        conventional, oil and natural gas development, utility formation, environmental regulations and
        permitting, energy conservation and efficiencies, policy development, governmental affairs, federal
        agency representation, business development and financing. Chris understands the challenges that
        tribes' face with energy development; however, Chris has proven there are paths forward given the
        right planning and the right association of teams. With Chris as a leading partner in the Firm, we can
        confidently represent that the Firm has the predominant and most effective energy practice in the
        nation.

                                     Economic Development and Diversification

                Our Firm assists tribal governments in the development of diverse economic enterprises to
        invest in infrastructure and support governmental programs. We provide advice on the formation of
        tribal economic development corporations and assist tribes to invest in business interests ranging from
        restaurants and hotels, to retail shopping centers and energy generation facilities. In recent years, a
        large part of our practice is focused on Ecommerce and the unique opportunities available to Indian
        tribes and businesses in harnessing the power of the Internet to expand their economic footprint off
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        reservation. We are known for out out-of- the box thinking and deep understanding of the principles
        of tribal sovereignty and its boundless advantages to Indian tribes and tribal businesses.

                 We also advise our clients in project development, competitive bidding, procurement,
        environmental issues and employment law. We are experienced in taxable and tax-exempt bond
        financing, traditional lending, lease financing, short-term obligations, letters of credit and lines of
        credit. We assist our clients to ensure compliance with SEC reporting deadlines and other relevant
        filings. We draft tribal tax codes, assist tribes to enforce tribal tax laws and advise tribes in disputes
        regarding collection. We also regularly assist tribes to structure businesses in order to mitigate any
        federal or state taxes. We have an active practice in helping tribes develop their natural resources,
        including oil, gas, coal and alternative energy production.

        As a part of our Economic Development and Diversification practice, we are also involved in assisting
        tribes to identify, conduct due diligence, and secure financing for renewable energy projects. We
        have drafted agreements to protect our client's rights in these transactions, whether the tribe 1s
        developing the project on its own or is seeking an outside party to manage or develop the project.

                                    Internal Tribal Relations and Tribal Sovereignty

                Our Firm understands that protecting tribal sovereignty is essential to our clients. We actively
        defend tribal jurisdiction to protect tribal resources, assert arguments to advance the rights of our
        clients to make their own laws and be governed by them, and engage in economic development
        opportunities to strengthen communities and the ability of tribal governments to provide essential
        governmental services to its citizens.

                Our Firm represents Tribal Councils, Boards, Gaming Commissions, personnel committees,
        housing and utility authorities, clinics, election boards, and tribal businesses. We aid in the
        administration of tribal programs and agencies such as fiscal departments, education services,
        housing, social services, human resources, tribal planning and cultural preservation. We procure self-
        determination contracts for programs such as water projects, sanitation facilities construction, health
        services and transportation. In addition, attorneys in our Firm have played a pivotal role in the
        development and implementation of tribal systems of justice within Indian communities.

                Our attorneys also have experience in advising Tribal councils, Tribal Courts and representing
        tribal interests in matters internal to the tribe such as constitutional issues related to the judiciary,
        Indian child welfare, internal domestic relations such as divorce, child support, adoption, and other
        child welfare issues.

                                                 Government Relations

                Rosette also assists tribes in building relationships with federal policymakers. In Washington,
        D.C., we advocate for tribal interests before all variety of federal agencies, such as the Department of
        the Interior, the Department of Energy, the Department of Education, Human and Health Services, the
        National Indian Gaming Commission, the Federal Communications Commission, and more. We
        assist tribes and tribal instrumentalities in advocating before federal officials to ensure that tribal
        sovereignty remains at the forefront of any federal Administration's agenda.

               We also represent our clients' interests in Congress, regularly advocating in both the House
        and the Senate for tribe-specific initiatives as well as legislation affecting all of Indian Country. We
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        have drafted testimony for clients appearing before congressional committees, and have created a
        number of successful political strategies to advance tribal interests. In addition to direct advocacy, we
        also carefully monitor proposed legislation and regulations to assess their potential impact on tribal
        interests. Indeed, through our Washington, D.C. office we have strategically positioned ourselves to
        act as an effective liaison between tribes and government agencies and officials to advance tribal
        interests.

                                                       Litigation

                 An important part of our practice is the representation of our clients in litigation in federal,
        state and tribal courts, as well as federal administrative boards and arbitration tribunals having
        jurisdiction over Indian affairs. On behalf of our clients, we advocate to protect our clients' rights and
        interests, including, but not limited to: treaty rights, assertions of tribal civil and/or criminal
        jurisdiction, enforcement of federal trust obligations, gaming device classification, enforcement of
        tribal-state compacts, assertions of tribal sovereign immunity and the protection of tribal cultural and
        property rights.

               We work with our clients from pre-litigation counseling through all appeals to reach the result
        that meets our clients' objectives. We frequently direct litigation in coordination with larger firms,
        lending our expertise in federal Indian law and making our legal resources available to our clients.
        Our formula for success enables us to provide superior service and deliver the desired results.

                Our Firm's representation has led to many successes and victories for our tribal clients over
        the years. Below are a few notable achievements:

               a. Havasupai Tribe v. Arizona Board of Regents, et. al

                Rosette was instrumental in resolving a highly publicized dispute between the Havasupai
        Tribe, a tribe located at the bottom of the Grand Canyon, and the State of Arizona, in a case whereby
        the Tribe alleged the illegal taking of its blood and genetic material. Between approximately 1990
        and 2003, representatives of Arizona State University ("ASU") conducted research at the Arizona
        public universities and other research institutions using the genetic information obtained from
        Havasupai tribal members, which was provided with the expectation that diabetes, a disease with a
        high prevalence in the Havasupai Community, would be studied. After inadvertently finding that the
        research conducted by ASU exceeded the scope of consent provided by the Tribe and its members, the
        Tribe and several individual tribal members filed suit against ASU and the State of Arizona for misuse
        of their genetic data.

                After a lengthy legal battle, (which led all the way to the Supreme Court of Arizona), with an
        army of attorneys representing the State and fighting the Tribe every step of the way, the Tribe
        achieved victory in April 2010. The settlement agreement entered into between the Tribe and the
        State provided a monetary distribution for the individual tribal members as well as thirty years' worth
        of full scholarships for Havasupai tribal members to any of the three Arizona State public
        universities. The victorious settlement agreement also established a collaborative partnership in
        various areas of tribal need including health, education and economic development.




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               b. Pauma Band of Luiseno Mission Indians v. State of California, et al

                Similar to many tribes in the State of California, the Pauma Band of Luiseno Mission Indians
        entered into a second gaming compact with the State of California in 2004 with substantively higher
        fees payable to the State than the previous 1999 gaming compact, and they did so with the intent of
        obtaining rights to additional gaming machines and expanding their gaming operations. After
        recognizing that the second compact was a result of misrepresentation by the State - because the tribe
        already had rights to the additional machines in the 1999 compact - Rosette brought suit against the
        State of California and then-Governor Schwarzenegger and successfully obtained a preliminary
        injunction against the State, saving the tribe over $100 Million in Compact payments allegedly owed
        to the State.

               c. Jicarilla Apache Nation v. United States

               Rosette was instrumental in resolving breach of trust claims brought by the Jicarilla Apache
        Nation against the United States. For decades, the United States mismanaged the proceeds derived
        from the development of the Nation's natural resources. The Nation brought suit to recover monetary
        damages for this breach of trust. After the case dragged through the federal courts for almost fifteen
        years, Rosette helped the Nation negotiate a very favorable settlement with the United States,
        allowing the Nation to successfully close a very difficult chapter of its dealings with the United States.

                                                        Gaming

                Rosette is also known for its national reputation for assisting tribes in economic development
        and gaming under the Indian Gaming Regulatory Act (IGRA). Our enduring relationships with tribal
        leaders, gaming industry pioneers, federal policy makers and decision makers allow us to accomplish
        our clients' objectives quickly and effectively. Our goal is to promote the economic and political
        resources our clients require to support their communities and preserve their sovereign status.

                As a routine part of our gaming practice, we negotiate and draft agreements for financing,
        development, construction and management of new and existing gaming facilities. We reach
        memorandums of understanding with local governments and successfully negotiate Class III gaming
        compacts with states. We draft tribal gaming ordinances, assist tribal regulatory agencies to develop
        regulations and minimum internal control standards and provide advice regarding procedures for
        licensing and background investigations for vendors and employees. We advocate on behalf of our
        clients before the National Indian Gaming Commission (NIGC) in matters including enforcement
        actions, Class II and Class III regulatory issues, and we secure tribal rights to conduct gaming on land
        acquired under section 20 of the IGRA.

               We have successfully negotiated tribal gaming compacts in California under both the Davis
        and Schwarzenegger administrations, as part of the 1999, 2002, 2003 and 2005 gaming compacts.
        More recently, Rosette attorneys have been actively involved in Arizona's mandatory gaming
        compact review and negotiations as well as the compact renegotiation efforts of the 1993 Gaming
        Compact involving seven Michigan Indian tribes. Through active involvement in these negotiations,
        we have developed a keen ability in dealing with the states. We truly understand the appropriate
        angles and approaches to negotiating at both the state and federal levels.




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                                                 Banking and Finance

                Our Firm is a premier law firm representing Indian tribes and enterprises in financing
        transactions. Our attorneys are responsible over $2 billion in financing for Indian tribes throughout
        the United States, including taxable and tax-exempt bond financing, traditional loans, lease
        financings, short-term obligations, letters and lines of credit.

               Our Finance practice assists tribes in identifying and selecting finance options, structuring
        finance transactions and effectively negotiating around sensitive issues such as limited waivers of
        sovereign immunity. Through the efficient use of financial tools, we enable our clients to pursue
        engagements in accordance with long term economic development goals. We negotiate favorable
        terms, which may include large amortization periods, lower rates and beneficial covenants.

                 We have longstanding relationships with lenders and finance professionals who value our
        experience.    We have successfully closed numerous complex transactions with banks and
        underwriters. Our firm efficiently procures tribal financing while obtaining superior terms for our
        clients.

                Unfortunately, due to the current economic conditions, we have several clients that are facing
        covenant violations and other default or potential default in their finance structures, through no fault
        of their own. Despite the negative events, Rosette has been successful at favorably negotiating out of
        these violations and assisting the refinance of debt to avoid declarations of default.

                                                    Tribal Housing

                Our Firm has several years' experience navigating the strictures of the Native American
        Housing Assistance and Self-Determination Act of 1996, PL 104-330, ("NAHASDA") and relevant
        implementing regulations in all areas of tribal housing administration and management. We also have
        experience in assisting tribal clients in maintaining compliance with USDA Rural Development
        administered housing. We have developed a unique expertise in the development, drafting and
        implementation of occupancy and housing assistance program policies as well as landlord, tenant and
        housing ordinances necessary to advance the success of housing programs within tribal communities.
        Our Firm also understands the unique role played by tribally-designated housing entities ("TDHE")
        under both NAHASDA and tribal law, and frequently counsels tribal housing departments or TDHE
        clients on how to more effectively communicate housing needs to tribal government and federal
        officials. Due to our professionalism and deep understanding of issues affecting tribal communities,
        and, in particular, tribal housing, our Firm has experienced many successes in the representation of
        tribal housing departments and TDHE clients in enforcement of tribal law and policy from minor
        policy violations up to and including eviction matters.


        II.    Client References

        Below is a list of three (3) clients for whom we currently provide legal services Additional references
        may be provided upon request:

        James Williams, Jr., Tribal Chairman
        Lac Vieux Desert Band of Lake Superior Chippewa Indians
        P.O. Box 249
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        Watersmeet, MI 49969
        (906) 287-0011

        Leon Reval, Legislative Council
        Jicarilla Apache Nation
        (575) 209-1546
        Lee.reval@gmail.com

        Brent McFarland, Chief Operating Officer
        Lac du Flambeau Business Development Corporation
        Lac de Flambeau Band of Lake Superior Chippewa Indians
        P.O. Box 67
        Lac de Flambeau, WI 54538
        (715) 892-7527 (cell)
        (715) 388-0502 (office)




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